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UNITED sTATEs DISTRICT CoURT OCT ' 8 2099
EASTERN DIsTRICT oF ARKANSAS JAME _ * C m ms
By
UNITED sTATEs oF AMERICA ) DEP CL=RL
) No. 4 09CR OOZOA` ON\N\
v. )
)
§
JARED RosE ) 18 U.s.C. § 922(g)(1), 924(€)
) 18 U.s.C. § 924(¢)(1)(A)(i)
) 21 U.s.c. § 841(3)(1)
) 21 U.s.C. § 841(b)(1)(13)
) 21 U.s.C. § 843(3)(6)
) 21 U.s.C. § 843(<1)(2)
) 21 U.s.C. § 846, 860a
)

INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT l
In or before July, 2007, in the Eastern District of Arkansas and elsewhere,
JARED ROSE
knowingly and intentionally conspired with other persons known and unknown to the grand jury
to manufacture a mixture or substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, and during the course of this conspiracy, at least 50 grams, but
less than 500 grams of a mixture or substance containing a detectable amount of
methamphetamine was involved, in violation of Title 21, United States Code, sections 841(a)(l),

(b)(l)(B), 846, and 860a.

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COUNT 2
On or about July 7, 2009, in the Eastern District of Arkansas,
JARED RosE
knowingly and intentionally possessed with intent to distribute at least 50 grams, but less than
500 grams, of a mixture or substance containing methamphetamine, a Schedule II controlled
substance, thereby violating Title 21, United States Code, sections 841(a)(1), (b)(l)(B) and 860a.
COUNT 3
On or about July 7, 2009, in the Eastern District of Arkansas,
JARED ROSE
knowingly and intentionally possessed equipment, chemicals, products, and materials that may
be used to manufacture a controlled substance (methamphetamine), knowing, intending, and
having reasonable cause to believe that such items will be used to manufacture a controlled
substance, thereby violating Title 21, United States Code, sections 843(a)(6) and (d)(2).
COUNT 4
On or about July 7, 2009, in the Eastern District of Arkansas,
JARED ROSE
in furtherance of a drug trafficking crime as charged in Counts l, 2, and 3 of the Indictment,
knowingly possessed one or more of the following firearms:
l. one Jimenez Arms, lnc., .3 80 caliber semi automatic handgun, serial number 109573
2. one M-ll 9mm SWD, Inc. semi automatic handgun, serial number XX-XXXXXXX

in violation of Title 18, United States Code, section 924(c)(1)(A)(i).

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COUNT 5
On or about August 19, 2009, in the Eastern District of Arkansas,
JARED ROSE
knowingly and intentionally possessed equipment, chemicals, products, and materials that may
be used to manufacture a controlled substance (methamphetamine), knowing, intending, and
having reasonable cause to believe that such items will be used to manufacture a controlled

substance, thereby violating Title 21, United States Code, sections 843(a)(6) and (d)(2).

FORFEITURE ALLEGATION
Upon conviction of the offense alleged in Counts 4 of this Indictment, JARED ROSE
shall forfeit to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(0), all
firearms and ammunition involved in the commission of the offense, including, but not limited
to:
l. one Jimenez Arms, Inc., 380 caliber semi automatic handgun, serial number 109573

2. one M-ll 9mm SWD, Inc. semi automatic handgun, serial number XX-XXXXXXX

[END OF TEXT: SIGNATURE PAGE ATTACHED]

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